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UNITED S'I'A'I`ES DISTRJCT COUR'I'

DIS'[`RICT OF WESTERN TENNESSEE
_______________________________________ x
UNITE,D STATES OF AHBRICA ‘

DAVI D HERNANDEZ

Defendant,

\\»

X

 

To the Hc)norable Court,

 

PLIEASE TAKE NOTICE, that I, Carlos Perez-Olivo the attorney for the above named
individual, will unfortmaate!y not be able to attend the above matbez', thai has hem scheduled for
Friday, May 6“‘ , 2005., due to the fact that I was scheduled to return back to New York today
Ma_y$"', mamaxion thatlam ozameme with myfamily,bucduetoasevere¥catigo
attack I!mdtodaythaz stemsfmmmy Meniere's Disease. Iwasadvised 11th flylodaybut
instead to wait a day m two extra until 1 am better to mve!, Fo_r tins mason 1 un_fcn:txm):c!y will
not be able to travel to Tennm‘»see in time for this matter. I apologize to this Honomble Court for
my absence tomorrcw and l respectfully request that you adjourn this manor to any date in June
your Honmable Cou:t wishes w assign

MaY 5"',2005
Q M\§' s Rcspectfully Snbm-
z " ._ A. ,.§,___:.,M»...,;)__,._.;..{`

Carlos Pemz-Olivo
80-02 anGan?ous Rd, Suim 1040
Kew Gardms, NY 11415
'l`d. (718) 793-5327! Fax. (713)193-2012

 

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Assistant United Statm“. Attomcy

cc_ Judy B. Palme.r
U.S. Probaxion Of’£ioer

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This notice confirms a copy of the document docketed as number 109 in
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ENNESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

